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. Case 2:94-CV-02577-BBD Document 172 Filed 07/05/05 Pagelof4 Page|D 25

w BY (‘L£"U"“" n`c' IN THE UNITED STATES DISTR_ICT COURT mo BYAAB'__'D’G‘
FOR THE WESTERN DISTRICT OF TENNESSEE
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@~E$§D m wm § cream us sargeer
f\l
Peaaoner ) No. 94-2577-BBD W‘D OF'N md

)
v. )
)
RICKY BELL, Warden )
Riverbend Maxirnum Security )
lnstitution )
)
Respondent. )

MOTION FOR STATUS CONFERENCE
On June 23, 2005, the Supreme Court decided Gonzalez v. Crosby, 545 U.S. _ (2005),
which addresses the scope of relief from judgment which is available in habeas corpus proceedings
ln particular, Gonzalez emphasizes that relief is available When the integrity of the initial habeas
proceeding Was compromised Like Judge Cole’s opinion in Alley v.. Bell, 405 F.3d 371, 372-373
(6“‘ Cir. 2005)(Cole, J,, concurring), Gonzalez clearly indicates that Philip Worlcman has a valid
motion for relief pending before this Court. In addition, in light of Gonzalez, the Supreme Court has

vacated and remanded the Sixth Circuit’s decision in ln Re Abdur’Rahrnan, 392 F.3d 174 (6th Cir.

 

2004)(en banc). S£ Bell v. Abdur’RahInan, 545 U.S. _ (June 28, 2005).

 

In light of these developments, it is appropriate for this Court to set a status conference to
discuss further proceedings on Petitioner’s motion, including, for example: Brieting by the parties
of the implications of Gonzalez; The need for additional pleadings, filings or motions by the parties;

discovery; and a hearing in this matter.

MOTION GRANTdED

The motion for status conference should be granted __ 0 5 _.,»2@

   
 
   

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wlth Ru\e 58 and/or 79{a) FRCP on

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Respect_fully Subrnitted,

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CERTIFICATE OF SERVICE

 

I certify that a copy of the foregoing has been served via first-class mail upon counsel for
Respondent, Joseph Whalen, Oflice of the Attorney General, 425 Fifth Avenue North, Nashville,
remessee 37243, this _[i_*day ofruly, 2005.

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Honorable Bernice Donald
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